

FILED: APRIL 5, 2001


IN THE SUPREME COURT OF THE STATE OF OREGON


STATE OF OREGON,

Respondent on Review,


	v.


DALE RUSSELL REIER,

Petitioner on Review.


(CC 92-1270; CA A77964; SC S41434)


	On petition for review filed June 30, 1994.*


	Stephen J. Williams, Deputy Public Defender, Salem, filed
the petition for review.  With him on the petition was Sally L.
Avera, Public Defender.


	No response contra.


	Before Carson, Chief Justice, and Gillette, Durham, Leeson,
Riggs, and De Muniz, Justices.**


	MEMORANDUM OPINION


	The petition for review is allowed.  The decision of the
Court of Appeals is vacated.  The case is remanded to the Court
of Appeals for further consideration in light of State v.
Fleetwood, 331 Or 511, 16 P3d 503 (2000).


	*Appeal from Clatsop County Circuit Court, Thomas E. Edison, Judge. 128 Or App 310, 875 P2d 545 (1994).


	**Kulongoski, J., did not participate in the consideration
or decision of this case.

